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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 STEPHEN KELLEY,                                  )
                                                  )
                  Plaintiff,                      )
                                                  )         Case No. 4:17-cv-1005
                                                  )
    vs.                                           )
                                                  )
 MEDICREDIT, INC.                                 )
                                                  )
 Serve at:                                        )
     STK Registered Agent, Inc.                   )         JURY TRIAL DEMANDED
     900 W. 48th Street,                          )
     Suite 900                                    )
     Kansas City, MO 64112                        )
                                                  )
                                                  )
 And                                              )
                                                  )
 DOES 1-4                                         )
                                                  )
                  Defendants.                     )
                                                  )

                                           COMPLAINT

          Plaintiff Stephen Kelley (“Plaintiff”), through counsel, brings this Complaint against

Defendant Medicredit, Inc. and DOES 1-4 (collectively “Defendants”) to secure redress against

Defendants for unlawful collection practices that violated the Fair Debt Collections Practices

Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), and states for his Complaint:


                                  JURISDICTION AND VENUE

          1.     This Court has original jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

          2.     Venue is proper in this District because: a) Defendant’s acts and




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transactions aimed at Plaintiff occurred here; and b) Defendant transacts business in this

District.

                                            PARTIES

        3.     Plaintiff, Stephen Kelley, is a natural person residing within St. Louis County,

Missouri from whom Defendant attempted to collect an alleged debt. He is a “consumer” or a

“person” affected by a violation of the FDCPA, as those terms are defined by 15 U.S.C. §§

1692a(3), 1692d, and 1692k.

        4.     Defendant Medicredit, Inc. is a foreign corporation that maintains a registered

agent in Missouri and listed the address of 3620 I-70 Dr. SE, Suite C, Columbia, MO 65201

with the Missouri Secretary of State. See records from Missouri Secretary of State, attached as

Exhibit A.

        5.     DOES 1-4 are principals, agents, owners, and/or entities related to or affiliated

with Defendant whose identities are currently unknown.

        6.     The debt Plaintiff allegedly owes arises out of consumer, family, and household

transactions. Specifically, the alleged debt originated from purchasing medical services from

“St. Clare Hospital – Fenton”.

        7.     Defendant regularly uses the mails and/or the telephone to collect, or attempt to

collect, delinquent consumer debts alleged to be due to others within the State of Missouri and

this District, among other places.

        8.     The principal business purpose of Defendant is the collection of debts regularly

attempts to collect debt alleged to be due another, and therefore, Defendant qualifies as a debt

collector, as defined by § 1692a(6) of the FDCPA.




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                                    FACTUAL ALLEGATIONS

          9.     After March 23, 2016, Defendant sent Plaintiff a collection letter, a portion of

which is attached as Exhibit B.

          10.    Defendant’s letter demands payment by Plaintiff and states:

If this debt remains unpaid, then 30 days from the date of this letter the Facility may begin

the following Extraordinary Collection Actions (ECAs):

...

         Commence civil action (suit) which may include:

                 -    Garnishment of wages

                 -    Attaching or seizing a bank account

                 -    Placing a lien on residences or other property

Exhibit B (emphasis in original).

          11.    The representation in and import of the letter to consumers such as Plaintiff is that

unless the debt is paid within from the date of the letter, consumers such as Plaintiff should

expect the commencement of a civil action, garnishment of wages, attachment or seizing

Plaintiff’s bank account, and/or placement of a lien on Plaintiff’s residence or other property.

          12.    Plaintiff, as a wage earner with a number of financial obligations, could not afford

to pay the alleged debt, even if it was valid. Therefore, Plaintiff could not comply with

Defendant’s demand to pay the debt at issue but rather consulted an attorney for fear of action.

          13.    Indeed, Defendant took no action against Plaintiff following Defendant’s

threatening letter.

          14.    The representation in and import of the letter is deceptive, misleading, and false in

contradiction of Plaintiff’s right to be free of such conduct pursuant to Section 1692e of the




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FDCPA. See, e.g., Brown v. Card Service Ctr., 464 F.3d 450 (3d Cir. 2005). Specifically,

failure to pay the debt within 30 days of the letter would not (and did not) result in civil action,

garnishment, attachment, seizure, or placement of a lien.

       15.     Specifically, Defendant’s statement within its letter to Plaintiff created an illusory

30-day deadline for Plaintiff to make payment when, in fact, no such deadline existed.

       16.     Defendant’s threats of legal action, garnishment of wages, attachment or seizure

of Plaintiff’s bank account, and/or placement of a lien on Plaintiff’s residence or other property

were neither authorized by the creditor nor were they actually intended by Defendant.

       17.     Furthermore, Defendant’s threats of garnishment of wages, attachment or seizure

of Plaintiff’s bank account, and/or placement of a lien on Plaintiff’s residence or other property

were not only not intended by Defendant but also were actions that could not lawfully be taken

in absence of the conclusion of a civil action rendering judgment in Defendant/creditor’s favor

and post-judgment efforts to take such actions.

       18.     Even though Plaintiff did not comply with Defendant’s demand to pay the debt,

Defendant is not believed to have instituted a suit or otherwise enlist an attorney to assist with its

collection efforts. See March 21, 2017 Missouri Case.net Search Results for Plaintiff During

2016 & 2017 attached hereto as Exhibit C (reflecting no lawsuits filed against Plaintiff in

Missouri after Defendant’s letter).

       19.     After retaining the undersigned and conducting a reasonable search for lawsuits

that may have been filed by Defendant or “St. Clare Hospital,” Plaintiff believes that Defendant

does not actually file lawsuits against consumers. Furthermore, St. Clare Hospital (not “St. Clare

Hospital – Fenton”) was found to have filed only one lawsuit – back in 1997.




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        20.      Defendant’s representations and direct or implicit threats were designed to coerce

and intimidate Plaintiff by creating a false sense of time-urgency as well as the misleading and

deceptive threat overstating the actions that Defendant and/or the creditor would take if Plaintiff

did not make the payment demanded in Defendant’s letter.

        21.      Defendant’s misrepresentations in its letter were material for purposes of 15

U.S.C. § 1692e in that they were objectively the type of threats that would influence an

unsophisticated consumer’s decision-making.

        22.      Plaintiff never entered any agreement consenting to arbitrate disputes between

himself and Defendant or waiving his right to a trial by jury.

        23.      All of Defendant’s actions complained of herein occurred within one year of the

date of this Complaint.

        24.      Defendant’s conduct has caused Plaintiff to suffer damages including but not

limited to the loss of time incurred by Plaintiff as well as attorneys’ fees paid for advice regarding

his situation.

        25.      Defendant’s conduct has caused Plaintiff to suffer damages including and as a

direct consequence of the Defendant’s acts, business practices, and conduct, Plaintiff also has

suffered shame, humiliation, anger, anxiety, emotional distress, fear, frustration, and

embarrassment.

        26.      Congress has found that “[a]busive debt collection practices contribute to the

number of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

individual privacy.” 15 U.S.C. § 1692(a).

        27.      Specifically, Section 1692e dictates that:




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         [a] debt collector may not use any false, deceptive, or misleading representation or

         means in connection with the collection of any debt. Without limiting the general

         application of the foregoing, the following conduct is a violation of this section: . .

         .

                (4) The representation or implication that nonpayment of any debt will

                result in . . . the seizure, garnishment, attachment or sale of any property

                or wages of any person unless such action was lawful and the debt

                collector or creditor intends to take such action.

                ...

                (5) The threat to take any action that cannot legally be taken or that is not

                intended to be taken.

                ...

                (10) The use of any false representation or deceptive means to collect or
                attempt to collect any debt or to obtain information concerning a
                consumer.

15 U.S.C §§ 1692e, (4), (5),& (10).

         28.    Here, Plaintiff suffered an injury-in-fact in at least one of the manners contemplated

by Congress when it passed the FDCPA because of Defendant’s conduct and that are fairly tracable

to the challenged representations of Defendant.

         29.    Plaintiff’s injury-in-fact is likely to be redressed by a favorable decision in this

Court.

         30.    Defendant’s collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, e.g., Duffy v. Landberg, 215 F.3d 871, 874 (8th Cir.

2000) (citing Gammon v. GC Services, Ltd. Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994)).




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                           COUNT I: VIOLATION OF THE FDCPA

       31.      Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       32.      In its attempts to collect the alleged debt from Plaintiff, Defendant violated the

FDCPA, 15 U.S.C. § 1692 et. seq, including but not limited to the following:

             a. Misrepresenting in a material manner the legal status of the debt and threatening to
                take action that was neither intended nor authorized. and attempting to coercing
                Plaintiff into calling Defendant, 15 U.S.C §§ 1692e, (4), (5), & (10);


             b. Using oppressive, deceptive, and unfair collection conduct in the collection of a
                debt, 15 U.S.C. § 1692d-f.

       33.      Each of Defendant’s violations of the FDCPA renders it liable for statutory

damages, costs, and reasonable attorneys’ fees. See 15 U.S.C. § 1692k.

       WHEREFORE, Plaintiff respectfully requests a judgment be entered by this Court in

favor of Plaintiff, and against Defendant, finding that Defendant violated the FDCPA and

awarding Plaintiff relief, including:

       a. statutory damages of $1,000;

       b. actual damages;

       c. prejudgment and/or post-judgment interest as permitted by law;

       d. costs and reasonable attorneys’ fees; and

       e. Such other or further relief in Plaintiff’s favor as the Court deems just and proper.


                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all Counts so triable.




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DATED: March 22, 2017                       Respectfully Submitted,



                                    By:     /s/ Nathan D. Sturycz
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